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                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                                              )
v.                                            ) Case No. 2:16-cr-0319-AKK
                                              )
CLAUDELL RALPH PETIT,                         )
                                              )
             Defendant.                       )

                                      ORDER

      The court has for consideration Defendant’s Motion to Suppress Unlawfully

Obtained Evidence, doc. 28. The magistrate judge filed a report on March 19,

2017, recommending that the court deny Defendant’s motion. See doc. 53. The

Defendant has timely objected. See doc. 62. Having carefully reviewed and

considered de novo all the materials in the court file, including the report and

recommendation, and the objections, the court is of the opinion that the magistrate

judge’s report is due to be and hereby is ADOPTED and his recommendation is

ACCEPTED. It is therefore ORDERED that Defendant’s Motion to Suppress,

doc. 28, is DENIED.

      Done this the 12th day of May 2017.

                                 _____________________________________
                                      ABDUL K. KALLON
                                 UNITED STATES DISTRICT JUDGE
